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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:
                                                                    Chapter 11
Bracha Cab Corp, et al.,
                                                                    Case No.: 17-46613-nhl
                                    Debtors.                        Jointly Administered
-------------------------------------------------------x

TO:      THE HONORABLE NANCY HERSHEY LORD
         UNITED STATES BANKRUPTCY JUDGE

         The application of the above-named, as debtors and debtors-in-possession, respectfully

represents:

              1. Applicants heretofore filed a petition for relief under Chapter 11 of the

Bankruptcy Code.

              2. Applicants have continued in possession of their property and management of

their businesses as debtors-in-possession pursuant to Sections 1107 and 1108 of the Bankruptcy

Code.

              3. Applicants, as debtors-in-possession, wish to employ and retain the firm

ROSENBERG, MUSSO & WEINER, LLP (“R, M & W”) as their attorneys in this case.

              4. Applicants have selected R, M & W for the reason that they have had

considerable experience in mattes of this character, and believes that R, M & W are well

qualified to represent it as debtors-in-possession in this case.

              5. The professional services that said R, M & W to render are:

                 (a)      To give debtors legal advice with respect to its powers and duties as

debtors-in-possession in the continued operation of its business and management of its property;

                 (b)      To prepare on behalf of applicants as debtors-in-possession necessary

petitions, pleadings, orders, reports and other legal papers;
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                 (c)     To perform all other legal services for applicant as debtors-in-possession

which may be necessary and appropriate in the conduct of this case.

              6. To the best of applicants knowledge R, M & W has no connection with applicant,

the creditors, or any other party in interest, or their respective attorneys, except as stated in the

affidavit of R, M & W, annexed hereto and made part hereof.

              7. R, M & W represents no interest adverse to applicants as debtors-in-possession or

the estates in the matters upon which they are to be engaged, and their employment would be to

the best interest of these estates.

              8. Applicants desire to employ R, M & W under a general retainer because of the

extensive legal services required. A retainer fee of $45,000.00 was initially paid by the Debtors.

              9. The undersigned reviewed the list of creditors and their affiliates as well as the

management companies employed by the Debtors, current and past equity holders of the Debtors

to see if R, M & W ever represented any person or entity adverse to the Debtors. No conflict

was found.

           WHEREFORE, applicants pray that they be authorized to employ and retain R, M & W

under a general retainer, to represent them as debtors-in-possession in this case under Chapter 11

of the said Code effective as of December 8, 2017 and that it have such other and further relief as

is just.

Dated: Brooklyn, New York
       March 19, 2018
                                                By:     /s/Esma Elberg
                                                        Esma Elberg, President of the Debtors
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                                       DECLARATION

        I Esma Elberg, certify under penalty of perjury that the foregoing is true and correct and
that the filing of this application on behalf of the corporations has been duly authorized.

Executed on March 19, 2018
                                                            /s/Esma Elberg
                                                            Esma Elberg
